Case 1: 03- --cr 10086- .]DT Document 116 Filed 08/03/05 Page 1 of 2 Page|D 117

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IN THE UNITED STATES DISTRICT COURT 6` 3

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FoR THE WESTERN DIsTRICT OF TENNE§§E»E w 4 /°#3_ Q
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UNirED srArEs or AMERICA, )
)
Plaintiff, )
)
vs. ) NO. 03_10086-01-r
)
MianEL WAYNE PRicE, )
)
Defendant. )

 

ORDER DENYING MOTION AS UNNECESSARY

 

On July 28, 2005, the United States Court of Appeals for the Sixth Circuit granted the
parties’ joint motion for remand in this case, vacating the sentence imposed on defendant Michael

Wayne Price and remanding for re-sentencing in light of United States v. Booker, 125 S. Ct. 738

 

(2005). The defendant, through counsel, filed a motion on August l, 2005, asking the Court to set
a re-sentencing hearing and to have defendant transported from his current place of incarceration

The Court Will automatically Set a re-sentencing hearing and arrange for the defendant’s
transportation to that hearing Without the need for a motion. Therefore, the defendant’S motion is
DENIED as unnecessary

IT lS SO ORDERED.

 

 

JAME D. TODD
UNIT D STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 116 in
case 1:03-CR-10086 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

J eff Mueller

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Honorable J ames Todd
US DISTRICT COURT

